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                                  Exhibit A
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   From: noreply@m.45office.com <noreply@m.45office.com>
   Sent: Friday, August 12, 2022 12:01 AM
   Subject: Statement by Donald J. Trump, 45th President of the United States of America


   [EXTERNAL EMAIL]


                                                                             View this email in your browser




                                          - August 11, 2022 -

            Statement by Donald J. Trump, 45th President of the
                         United States of America
      Not only will I not oppose the release of documents related to the unAmerican, unwarranted, and

      unnecessary raid and break-in of my home in Palm Beach, Florida, Mar-a-Lago, I am going a step

      further by ENCOURAGING the immediate release of those documents, even though they have been

      drawn up by radical left Democrats and possible future political opponents, who have a strong and

      powerful vested interest in attacking me, much as they have done for the last 6 years. My poll

      numbers are the strongest they have ever been, fundraising by the Republican Party is breaking all

      records, and midterm elections are fast approaching. This unprecedented political weaponization of

      law enforcement is inappropriate and highly unethical. The world is watching as our Country is being
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      brought to a new low, not only on our border, crime, economy, energy, national security, and so

      much more, but also with respect to our sacred elections!




      Release the documents now!




                                          The Office of Donald J. Trump
                                                   45office.com
